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The below chart contains identical relevant docket entries.

 11          12/13/2017 "LEAVE TO FILE DENIED-Motion to Intervene/Friend of the
                        Court/Amicus Brief" Signed by Judge Emmet G. Sullivan on
                        12/13/2017 as to MICHAEL T. FLYNN. This document is
                        unavailable as the Court denied its filing. (hsj)
 12          12/13/2017 "LEAVE TO FILE DENIED-Motion to Intervene/Friend of the
                        Court/Amicus Brief (Fruit of the Poisonous Tree) of a Sitting
                        President and His Family" Signed by Judge Emmet G.
                        Sullivan on 12/13/2017 as to MICHAEL T. FLYNN. This
                        document is unavailable as the Court denied its filing.. (hsj)
 13          12/13/2017 "LEAVE TO FILE DENIED-Supplemental Motion to
                        Intervene/Friend of the Court Brief/Amicus Brief" Signed by
                        Judge Emmet G. Sullivan on 12/13/2017 as to MICHAEL T.
                        FLYNN. This document is unavailable as the Court denied its
                        filing. (hsj)
            12/20/2017 MINUTE ORDER. This Court has received several motions to
                       intervene/file an amicus brief along with letters in support
                       from a private individual who is neither a party to this case
                       nor counsel of record for any party. The Federal Rules of
                       Criminal Procedure do not provide for intervention by third
                       parties in criminal cases. The Court recognizes that the
                       movant sincerely believes that he has information to share
                       that bears on this case, and that, understandably, he wishes to
                       be heard. Options exist for a private citizen to express his
                       views about matters of public interest, but the Court's docket
                       is not an available option. The docket is the record of official
                       proceedings related to criminal charges brought by the United
                       States against an individual who has pled guilty to a criminal
                       offense. For the benefit of the parties in this case and the
                       public, the docket must be maintained in an orderly fashion
                       and in accordance with court rules. The movant states that he
                       disagrees with the similar Minute Order issued by Judge
                       Berman Jackson in Criminal Case Number 17-201, but the
                       contrary legal authority on which he relies is neither
                       persuasive nor applicable. Therefore, the Clerk is directed not
                       to docket additional filings submitted by the would-be
                       intervenor. If the individual seeks relief from this Court's
                       rulings, he must appeal the rulings to the United States Court
                       of Appeals for the District of Columbia Circuit. Signed by
                       Judge Emmet G. Sullivan on 12/20/2017. (lcegs3) (Entered:
                       12/20/2017)

 14         12/20/2017 "LEAVE TO FILE DENIED" by Judge Emmet G. Sullivan on
                       12/20/2017, letter regarding Special Counsel Robert Mueller


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                     as to MICHAEL T. FLYNN. This document is unavailable as
                     the Court denied its filing. (hsj)
15       12/20/2017 LEAVE TO FILE DENIED by Judge Emmet G. Sullivan on
                    12/20/2017, Notice of Appeal Dated 12/15/2017 as to
                    MICHAEL T. FLYNN. This document is unavailable as the
                    Court denied its filing. (hsj)
17       01/15/2018 LEAVE TO FILE DENIED- Vast Right-Wing United Way
                    Cabal Infiltrating & Undermining Trump Law & Order
                    Cabinet as to MICHAEL T. FLYNN. This document is
                    unavailable as the Court denied its filing. Signed by Judge
                    Emmet G. Sullivan on 1/15/18. (tl)


23       03/16/2018 LEAVE TO FILE DENIED- Letter Regarding Censorship and
                    Violations of the Constitution as to MICHAEL T. FLYNN.
                    "Leave to File Denied" by Judge Emmet G. Sullivan on
                    3/16/2016. This document is unavailable as the Court denied
                    its filing. Signed by Judge Emmet G. Sullivan on 3/16/2018.
                    (hsj)
24       03/16/2018 LEAVE TO FILE DENIED-Epiphany as to MICHAEL T.
                    FLYNN. "Leave to File Denied" by Judge Emmet G. Sullivan
                    on 3/16/2018. This document is unavailable as the Court
                    denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/16/2018. (hsj)
25       03/16/2018 LEAVE TO FILE DENIED-Letter Regarding the Plea as to
                    MICHAEL T. FLYNN. "Leave to File Denid" by Judge Emmet
                    G. Sullivan on 3/16/2018. This document is unavailable as the
                    Court denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/16/2018. (hsj)
26       03/16/2018 LEAVE TO FILE DENIED-Letter Regarding Two New York
                    Times as to MICHAEL T. FLYNN. "Leave to File Denied" by
                    Judge Emmet G. Sullivan on 3/16/2018. This document is
                    unavailable as the Court denied its filing..Signed by Judge
                    Emmet G. Sullivan on 3/16/2018. (hsj)
27       03/16/2018 LEAVE TO FILE DENIED-Motion for Reconsideration as to
                    MICHAEL T. FLYNN. "Leave to File Denied" by Judge Emmet
                    G. Sullivan on 3/16/2018. This document is unavailable as the
                    Court denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/16/2018. (hsj)
28       03/19/2018 LEAVE TO FILE DENIED- Mankind's Death Certificate was
                    Signed on October 12, 2050 with not so much asa Whimper.
                    as to MICHAEL T. FLYNN. "Leave to File Denied" by Judge
                    Emmet G. Sullivan on 3/19/2018. This document is



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                      unavailable as the Court denied its filing. Signed by Judge
                      Emmet G. Sullivan on 3/19/2018. (hsj)
29       03/19/2018 LEAVE TO FILE DENIED- Three Quotes from Supreme Court
                    Justices as to MICHAEL T. FLYNN. "Leave to File Denied" by
                    Judge Emmet G. Sullivan on 3/19/2018. This document is
                    unavailable as the Court denied its filing. Signed by Judge
                    Emmet G. Sullivan on 3/19/2018. (hsj)
30       03/19/2018 LEAVE TO FILE DENIED- Quote From Judge Kurt
                    Engelhardt's Order and Reasons as to MICHAEL T. FLYNN.
                    "Leave to File Denied" by Judge Emmet G. Sullivan on
                    3/19/2018. This document is unavailable as the Court denied
                    its filing. Signed by Judge Emmet G. Sullivan on 3/19/2018.
                    (hsj)
31       03/20/2018 LEAVE TO FILE DENIED-Letter Regarding the Passing of
                    Stephen Hawking as to MICHAEL T. FLYNN. "Leave to File
                    Denied" by Judge Emmet G. Sullivan on 3/20/2018. This
                    document is unavailable as the Court denied its filing.. Signed
                    by Judge Emmet G. Sullivan on 3/20/2018. (hsj)
32       03/20/2018 LEAVE TO FILE DENIED- Emergency Moton to Intervene
                    Filed on Behalf of all Americans as to MICHAEL T. FLYNN.
                    "Leave to File Denied" by Judge Emmet G. Sullivan on
                    3/20/2018. This document is unavailable as the Court denied
                    its filing. Signed by Judge Emmet G. Sullivan on 3/20/2018.
                    (hsj)
33       03/20/2018 LEAVE TO FILE DENIED-Letter Regarding I Kings 23 as to
                    MICHAEL T. FLYNN. "Leave to File Denied" by Judge Emmet
                    G. Sullivan on 3/20/2018. This document is unavailable as the
                    Court denied its filing. Signed by Judge Emmet G. Sullivan on
                    3/20/2018. (hsj)
34       03/23/2018 LEAVE TO FILE DENIED- Letter Regarding the Actions of
                    Andrew McCabe, General Mike Flynn and Robert Mueller as
                    to MICHAEL T. FLYNN. "Leave to File Denied" by Judge
                    Emmet G. Sullivan on 3/23/2018. This document is
                    unavailable as the Court denied its filing. Signed by Judge
                    Emmet G. Sullivan on 3/23/2018. (hsj)
67       01/18/2019 LEAVE TO FILE DENIED-Motion to Dismiss Indictment for
                    Lack of Subject Matter Jurisdiction and Supplemental
                    Defense Sentencing Memorandum as to MICHAEL T. FLYNN
                    This document is unavailable as the Court denied its filing.
                    "Leave to File Denied" Signed by Judge Emmet G. Sullivan on
                    1/18/2019. (hsj)
68       01/18/2019 LEAVE TO FILE DENIED-Motion for Leave of Court to File
                    Amicus Curiae Brief as Sentencing Memorandum in Support



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                      of Defendant MICHAEL FLYNN as to MICHAEL T. FLYNN
                      This document is unavailable as the Court denied its filing.
                      "Leave to File Denied Signed by Judge Emmet G. Sullivan on
                      1/18/2018. (hsj)
69        02/13/2019 LEAVE TO FILE DENIED-Amicus Curiea Brief Supporting
                     Dismissal Due to Want of Federal Jurisdiction as to
                     MICHAEL T. FLYNN. This document is unavailable as the
                     Court denied its filing. "Leave to File Denied" Signed by Judge
                     Emmet G. Sullivan on 2/13/2019. (hsj)
70        03/06/2019 LEAVE TO FILE DENIED- Friend of Court Petition Certificate
                     of Service as to MICHAEL T. FLYNN This document is
                     unavailable as the Court denied its filing. "Leave to File is
                     Denied" by Judge Emmet G. Sullivan. Signed by Judge Emmet
                     G. Sullivan on 3/6/2019. (hsj)
139        11/16/2019 LEAVE TO FILE DENIED-Amicus Curiae Brief Supporting
                      Lack of Subject Matter Jurisdiction as to MICHAEL T.
                      FLYNN. This document is unavailable as the Court denied its
                      filing. "Leave to File is Denied" Signed by Judge Emmet G.
                      Sullivan on 11/16/2019. (hsj)
184      04/26/2020 LEAVE TO FILE DENIED-Request for Perserving Claim of
                    Error as to MICHAEL T. FLYNN. This document is
                    unavailable as the Court denied its filing. "Leave to File
                    Denied" Signed by Judge Emmet G. Sullivan on 4/26/2020.
                    (Attachments: # (1) Envelope) (zhsj)




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